        2:18-cv-02144-CSB-EIL # 1           Page 1 of 6                                                E-FILED
                                                                        Thursday, 24 May, 2018 04:16:34 PM
                                                                              Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  URBANA DIVISION

NECA-IBEW PENSION TRUST FUND,                        )
                                                     )
                       Plaintiffs,                   )
                                                     )
v.                                                   )         No.   18-2144
                                                     )
MELTON ELECTRIC CO.                                  )
                                                     )
Defendant.                                           )

                                          COMPLAINT

       The Plaintiff, NECA-IBEW PENSION TRUST FUND, by their attorneys, CAVANAGH

& O’HARA LLP, files this Complaint against the Defendant, MELTON ELECTRIC CO., and

alleges as follows:

                                           Introduction

       1.      This is an action brought under the Employee Retirement Income Security Act of

1974 (“ERISA”), codified at 29 U.S.C. §1001 et seq., as amended by the Multiemployer Pension

Plan Amendments Act of 1980 (“MPPAA”), codified at 29 U.S.C. §§1381-1453, to collect

withdrawal liability, interest, liquidated damages, and attorneys’ fees and costs from the Defendant

resulting from Defendant’s withdrawal from the Plaintiff’s pension plan.

       2.      Plaintiff is entitled to immediate payment of the outstanding balance of Defendant’s

withdrawal liability pursuant to 29 U.S.C. §1399 because Defendant defaulted on its obligation to

make regular withdrawal liability payments to the Plaintiff.

       3.      Plaintiff is entitled to damages pursuant to relevant provisions of ERISA, as

amended by the MPPAA, which include immediate payment of the outstanding balance of

Defendant’s withdrawal liability plus accrued interest, liquidated damages, attorneys’ fees and



                                            Page 1 of 6
         2:18-cv-02144-CSB-EIL # 1           Page 2 of 6



costs and any other legal or equitable relief that the court deems appropriate because Defendant

defaulted on its obligation to make regular withdrawal liability payments to the Plaintiff.

                                      Jurisdiction and Venue

       4.      Federal District Courts have exclusive jurisdiction under ERISA over civil actions

like the present action. (See 29 U.S.C. §1132, §1145, §1139, §1451).

       5.      Venue for civil actions like the present action is proper in a federal District Court

where the plan is administered. (See 29 U.S.C. §1132(e)(2) and §1451(d).

       6.      Plaintiff’s plan is administered in Macon County, Illinois at the address of 2120

Hubbard Avenue, Decatur, Illinois 62526, which is located within the venue of the District Court

for the Central District of Illinois, Urbana Division.

                                               Parties

       7.      Plaintiff, NECA-IBEW Pension Trust Fund, is an employee benefit fund

maintained in accordance with the provisions of ERISA and the LMRA, and administered pursuant

to the terms and provisions of an Agreement and Declaration of Trust (the “trust agreement”).

       8.      Plaintiff receives contributions from numerous employers, and therefore, is a

multiemployer plan. (See 29 U.S.C. §1002).

       9.      Plaintiff provides retirement and other benefits to the employees of participating

employers who pay fringe benefit contributions to the Plaintiff on behalf of their employees.

       10.     The Defendant is believed to be an active Nevada corporation registered as a

foreign corporation authorized to do business in Illinois.

       11.     At all relevant times, Defendant was an “Employer” engaged in an industry within

the meaning of 29 U.S.C. §§1002 (5), (11), (12) and (14).


                                             Page 2 of 6
        2:18-cv-02144-CSB-EIL # 1          Page 3 of 6



       12.     The business address for Defendant is believed to be 5900 S. Washington,

Bartonville, IL 61607.

                                        Claim for Relief

       13.     During all relevant times, Defendant was bound by a collective bargaining

agreement under which Defendant was required to pay fringe benefit contributions to the

Plaintiff’s pension plan on behalf of its covered employees.

       14.     The Plaintiff determined that Defendant permanently ceased to have an obligation

to contribute to the Plaintiff’s pension plan thereby effecting a “complete withdrawal” from the

pension plan within the meaning of §4203 of ERISA, 29 U.S.C. §1383.

       15.     As a result of this complete withdrawal, Defendant incurred withdrawal liability to

the Plaintiff in the principal amount of $57,974.00, as determined pursuant to §4201(b) of ERISA,

29 U.S.C. §1381(b) (See Exhibit “A”).

       16.     On or about October 9, 2017, Plaintiff sent Defendant a notice and demand for

payment of withdrawal liability (the “notice and demand”) in accordance with §4202(2) and

§4219(b)(1) of ERISA, 29 U.S.C. §1382(2) and §1399(c)(5)(B) (See Exhibit “B”).

       17.     Defendant received the notice and demand on or about October 12, 2017.

       18.     In the notice and demand, Plaintiff demanded Defendant either pay its withdrawal

liability in full by December 15, 2017, or pay its withdrawal liability pursuant to a payment plan

requiring 4 quarterly payments of $13,208.75 and one additional final quarterly payment of $5,537,

with Defendant’s first quarterly payment due by December 15, 2017.

       19.     Defendant did not pay its withdrawal liability in full by December 15, 2017, or

alternatively, make the required first quarterly installment withdrawal liability payment to the

Plaintiff by December 15, 2017.
                                           Page 3 of 6
         2:18-cv-02144-CSB-EIL # 1           Page 4 of 6



        20.      Defendant did not timely request a review of the withdrawal liability assessment

pursuant to §4219(b)(2)(A) of ERISA, 29 U.S.C. §1399(b)(2)(A).

        21.      Defendant did not timely initiate arbitration pursuant to §4221(a)(1) of ERISA, 29

U.S.C. §1401(a)(1).

        22.      Plaintiff notified Defendant by letter on January 19, 2018, that it was in default

because it had failed pay its withdrawal liability in full by December 15, 2017, or alternatively,

pay its first quarterly withdrawal liability payment by December 15, 2017, and that it had sixty

(60) days in which to cure its default (See Exhibit “C”).

        23.      Defendant did not cure its default or remit any payment to Plaintiff within 60 days

of Plaintiff’s letter.

        24.      Plaintiff again notified Defendant by letter on February 22, 2018, that it was in

default because it had failed pay its withdrawal liability in full by December 15, 2017, or

alternatively, pay its first quarterly withdrawal liability payment by December 15, 2017, and that

it had sixty (60) days in which to cure its default (See Exhibit “D”).

        25.      Defendant was personally served with a copy of Plaintiff’s letter dated February

22, 2017, on March 9, 2018 (See Exhibit “E”).

        26.      Defendant did not cure its default or remit any payment to Plaintiff within 60 days

of being served with Plaintiff’s letter.

        27.      Defendant is therefore in default under §4219(c)(5) of ERISA, 29 U.S.C.

§1399(c)(5), and Plaintiff is entitled to the full amount of outstanding withdrawal liability owed

by Defendant.




                                             Page 4 of 6
           2:18-cv-02144-CSB-EIL # 1         Page 5 of 6



       28.     Defendant is entitled to an award of interest on the total outstanding withdrawal

liability from the due date of the first payment which was not timely made under §4219(c)(5) of

ERISA, 29 U.S.C. §1399(c)(5).

       29.     Pursuant to §4301 of ERISA, 29 U.S.C. §1451, this action may also be treated as

an action to collect delinquent contributions.

       30.     Pursuant to §502(g) of ERISA, 29 U.S.C. §1132(g), Defendant is entitled upon

entry of a judgment for delinquent contributions to an award of interest, liquidated damages and

attorneys’ fees and costs.

       31.     The trust agreement provides for the collection of liquidated damages and interest

on delinquent contributions, and for payment of Plaintiff’s collection costs, including attorneys’

fees and court costs, incurred in the collection of delinquent contributions from the Defendant.

       WHEREFORE, Plaintiff prays for judgment in its favor and against the Defendant as

follows:

       A.      That judgment is entered in favor of Plaintiff and against Defendant in the amount

of $57,974.00 for withdrawal liability pursuant to §4219(c)(5) of ERISA, 29 U.S.C. §1399(c)(5),

plus liquidated damages, interest, and attorneys’ fees and costs;

       B.      That Defendant is decreed to pay to the Plaintiff all such monies determined to be

due and owing to Plaintiff at the time judgment is entered, including without limitation withdrawal

liability, interest, liquidated damages, and attorneys’ fees and costs;

       C.      That Defendant is decreed to pay to the Plaintiff liquidated damages owed by

Defendant;




                                             Page 5 of 6
        2:18-cv-02144-CSB-EIL # 1           Page 6 of 6



       D.      That Defendant is decreed to pay to the Plaintiff prejudgment interest owed for

amounts accrued on the withdrawal liability owed by Defendant;

       E.      That Defendant is decreed to pay to the Plaintiff its reasonable attorneys’ fees and

costs, as provided by ERISA (29 U.S.C. Section 1132(g)(2));

       F.      That Defendant is decreed to pay all costs attendant to these proceedings; and

       G.      That Plaintiff is awarded, at Defendant’s cost, such further and other relief as may

be available under ERISA, the trust agreement or as is otherwise just and equitable.


                                                     NECA-IBEW PENSION TRUST FUND,
                                                     Plaintiff,


                                                    By:     s/ John P. Leahy
                                                            JOHN P. LEAHY
                                                            CAVANAGH & O’HARA LLP
                                                            Attorneys for Plaintiffs
                                                            2319 W. Jefferson Street
                                                            Springfield, IL 62702
                                                            (217) 544-1771 – Telephone
                                                            (217) 544-9894 – Facsimile
                                                            johnleahy@cavanagh-ohara.com




                                           Page 6 of 6
